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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

DWIGHT A. WILLIAMS,

                                                 JUDGMENT IN A CIVIL CASE
      Petitioner
                                                          17-cv-782-bbc
v.

UNITED STATES POSTAL SERVICE,
RENATE TROESTER and GREG DOE,

      Respondents.


      This action came for consideration before the court with District Judge
Barbara B. Crabb presiding. The issues have been considered and a decision has been
rendered.


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.


          /s/                                                   6/11/2018
          Peter Oppeneer, Clerk of Court                          Date
